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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK
---------------------------------------X
ANDREW GREENE,

                              Plaintiff,              MEMORANDUM & ORDER
                                                      14-CV-1044(JS)(SIL)
            -against–                                                      FILED
                                                                           CLERK
PARAMOUNT PICTURES CORP., RED GRANITE
PICTURES, INC., APPIAN WAY, LLC, and                               12/13/2018 12:24 pm
JOHN AND JANE DOES 1 through 10,                                     U.S. DISTRICT COURT
                                                                EASTERN DISTRICT OF NEW YORK
                         Defendants.                                 LONG ISLAND OFFICE
---------------------------------------X
APPEARANCES
Plaintiff:          Aaron M. Goldsmith, Esq.
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SEYBERT, District Judge:

            Plaintiff Andrew Greene (“Plaintiff”) filed this action

against defendants Paramount Pictures Corporation (“Paramount”),
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Red Granite Pictures, Inc. (“Red Granite”), and Appian Way, LLC

(“Appian Way,” and collectively, “Defendants”),1 the producers and

distributors of the motion picture The Wolf of Wall Street (the

“Movie”), alleging that he was defamed through the portrayal of a

character in the Movie.                                        Presently pending before the Court is

Defendants’ motion for summary judgment.                                        (Defs.’ Mot., Docket

Entry 73.)                              For the following reasons, Defendants’ motion is

GRANTED.

                                                               BACKGROUND

I.            Factual Background2


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1 Plaintiff also named Sikelia Productions, Inc. (“Sikelia”) as a
defendant, but pursuant to the Court’s September 11, 2017
Memorandum and Order (the “September 2017 Order”), his claims
against it were dismissed without prejudice for lack of subject
matter jurisdiction. Greene v. Paramount Pictures Corp., No.
14-CV-1044, 2017 WL 4011240, at *5 (E.D.N.Y. Sept. 11, 2017)
(“Greene II”).

2 The following facts are drawn from Defendants’ Local Civil Rule
56.1 Statement, (Defs.’ 56.1 Stmt., Docket Entry 69-1), and
Plaintiff’s 56.1 Counterstatement, (Pl.’s 56.1 Counterstmt.,
Docket Entry 72, ¶¶ 98-116). However, in some instances,
Plaintiff supports factual propositions in his Counterstatement
by citing to entire deposition transcripts, without pin
citations. For example, Plaintiff cites generally to “Plaintiff
EBT,” (see, e.g., Pl.’s 56.1 Counterstmt. ¶ 98), which is a
document in excess of 300 pages that, according to Plaintiff,
was “too voluminous to file electronically,” (Goldsmith Decl.,
Docket Entry 74, ¶ 3; see generally Pl.’s Dep., Cox Decl. Ex.
40, Docket Entry 73-49). The Court will not consider these
inadequately supported statements. See Russell v. Aid to
Developmentally Disabled, Inc., No. 12-CV-0389, 2017 WL 4357412,
at *1 n.3 (E.D.N.Y. Sept. 30, 2017) (“Plaintiff refers the Court
to [p]laintiff’s entire deposition transcript without providing
direct citations. . . . Facts met with these insufficient
responses are deemed undisputed.”).
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               Familiarity   with    the   Court’s    September    30,     2015

Memorandum and Order (the “September 2015 Order”), see generally

Greene v. Paramount Pictures Corp., 138 F. Supp. 3d 226 (E.D.N.Y.

2015) (“Greene I”), and the September 2017 Order, see generally

Greene II, 2017 WL 4011240, is presumed, and the Court discusses

only those facts necessary to the resolution of Defendants’ motion.

        A.     Plaintiff’s 56.1 Responses

               Initially, the parties dispute whether the Court should

accept Plaintiff’s Responses to Defendants’ 56.1 Statement, since

they do not comply with Local Civil Rule 56.1’s requirements

(1) that they respond, in correspondingly numbered paragraphs, to

each numbered paragraph in Defendants’ Statement and (2) that each

statement be followed by a citation to admissible evidence.               Local

Civ. R. 56.1(b) & (d); (see Defs.’ Br., Docket Entry 73, at 2-4;

Pl.’s Opp., Docket Entry 75, at 7-8.)

               Plaintiff submitted his first non-compliant Rule 56.1

Response in advance of a pre-motion conference in this matter.

(Pl.’s 56.1 Resp., Docket Entry 69-2.)           At the December 18, 2017

conference, the Court highlighted the Response’s deficiencies and

directed Plaintiff to file a compliant 56.1 Response.              (Dec. 2017

Minute Entry, Docket Entry 71.)            Plaintiff submitted an amended

56.1 Response that again failed to comply with Local Civil Rule

56.1.        (Pl.’s Am. 56.1 Resp., Docket Entry 72, ¶¶ 1-97.)           In his

opposition       to   Defendants’   summary   judgment   motion,    Plaintiff

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explains his curious choice to flout the Rule and the Court’s

order:

            At     the     pre-motion     conference . . .
            Plaintiff’s Counsel noted--quite accurately--
            that the vast majority of statements included
            in the multiple declarations and documentation
            [cited in Defendants’ Rule 56.1 Statement]
            were irrelevant to the case-at-hand.       The
            Court held that it was within the purview of
            the Court to determine the relevance of the
            Defendants’ assertions . . . and provided a
            deadline for Plaintiff to file a revised
            Statement that matched paragraph-by-paragraph
            for the benefit of the Court’s review as to
            which assertions are in contest. . . .

            . . . .

            Unfortunately, Defendants’ 56.1 Statement was
            replete with superfluous and irrelevant
            assertions and materials seeking to prove the
            overall unethical, unprofessional and--in
            some instances--illegal conduct of Stratton
            Oakmont. . . . Plaintiff’s allegations in the
            Complaint and assertions throughout this
            litigation have always been that he did not
            behave in the same fashion as the firm gained
            a reputation for. . . .

(Pl.’s Opp. at 7-9.)             Accordingly, despite Plaintiff’s clear

understanding of Local Civil Rule 56.1 and this Court’s directive,

he disregarded both and instead filed what amounts to a commentary

--without     citations     to    admissible    evidence--on     Defendants’

evidence.     (See
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                   Pl.’s Am. 56.1 Resp.)        The Court thus disregards




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Plaintiff’s Responses and deems the facts in Defendants’ 56.1

Statement to be admitted.3

              B.             Stratton Oakmont, the Memoir, and the Movie

                             From 1993 to 1996, Plaintiff served as a director,

general counsel, and head of the corporate finance department at

Stratton Oakmont, Inc. (“Stratton Oakmont”).                                   (Defs.’ 56.1 Stmt.

¶¶ 13, 51-52; Pl.’s Dep. 44:18-21, 64:5-12.)                                  Stratton Oakmont was

an infamous over-the-counter securities broker-dealer based in

Long Island, New York that was subject to a host of disciplinary

actions and charges involving, among other things, securities

fraud and market manipulation.                                     (Defs.’ 56.1 Stmt. ¶¶ 10, 20.)

Jordan Belfort, one of Stratton Oakmont’s cofounders, eventually

pled guilty to securities fraud, money laundering, and related

charges, for which he served prison time and was ordered to pay

over $100 million in restitution.                                   (Defs.’ 56.1 Stmt. ¶¶ 24, 26,

28; U.S. v. Belfort, et al., Case No. 98-CR-0859, J., Docket Entry

135.) In 2007, Belfort published The Wolf of Wall Street, a memoir

chronicling his time operating Stratton Oakmont and overseeing its




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3 The Court has reviewed the evidence underlying the propositions
in Defendants’ Statement to ensure that they are adequately
supported. See Giannullo v. City of N.Y., 322 F.3d 139, 140 (2d
Cir. 2003) (noting that “‘a Local Rule 56.1 statement is not
itself a vehicle for making factual assertions that are
otherwise unsupported in the record’”) (quoting Holtz v.
Rockefeller & Co., Inc., 258 F.3d 62, 74 (2d Cir. 2001)).
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securities fraud (the “Memoir”).           (Defs.’ 56.1 Stmt. ¶ 2); Greene

I, 138 F. Supp. 3d at 229.

            Plaintiff is prominently featured in the Memoir.                It

identifies Plaintiff by his full name, Andrew Greene, and a

nickname, “Wigwam”--a reference to the toupee he wore during his

time at Stratton Oakmont.        (Memoir pp. 1-224, Belfort Decl. Ex. 1

Pt. 1, Docket Entry 73-3, at 65.)               Plaintiff is described as

Stratton Oakmont’s lawyer and Belfort’s “old and trusted friend,”

whose job was “to sift through dozens of business plans Stratton

received each day and decide which, if any, were worth passing

along to [Belfort].”       (Memoir at 65.)      Physically speaking, he is

described     as    “frump[y]”   and   having   a   “prodigious   potbelly,”

(Memoir at 66), and his toupee is mocked incessantly throughout

the Memoir.        For example, in the chapter introducing Plaintiff to

readers, Belfort describes Plaintiff’s toupee as “the worst toupee

this side of the Iron Curtain.” (Memoir at 65.) The Memoir further

describes Plaintiff as engaging in various types of illegal conduct

related to Stratton Oakmont’s securities fraud.

            The Movie--starring Leonardo DiCaprio and directed by

Martin Scorsese--is based on the Memoir and was released in the

United States on December 23, 2013.          (Def.s’ 56.1 Stmt. ¶¶ 2, 5.)

As stated in the closing credits, the Movie purports to be “based

on actual events”--that is, the story told in the Memoir.                 (See

Movie; Defs.’ 56.1 Stmt. ¶ 90.)            For the most part, the Movie’s

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screenplay tracks the Memoir’s storyline.                                                However, as the closing

credits explain, the Movie contains some dramatic elements.                                                     While

purporting to be “based on actual events,” the credits indicate

that some of the events depicted are fictional and that some of

the characters have fictional names or are composites of real-life

individuals depicted in the Memoir.                                                  (See Movie, Closing Credits

(“[C]ertain characters, characterizations, incidents, locations

and           dialogue                    were             fictionalized        or    invented   for   purposes   of

dramatization.”); Defs.’ 56.1 Stmt. ¶ 90.)                                                  The closing credits

further                   include                    a         disclaimer   that      “[w]ith    respect   to   such

fictionalization or invention, any similarity to the name or to

the actual character or history of any person . . . or any product

or entity or actual incident, is entirely for dramatic purposes

and not intended to reflect on an actual character, history,

product or entity.”                                            (Movie, Closing Credits; Defs.’ 56.1 Stmt.

¶90.)

              C.             The Koskoff Character

                             Plaintiff claims that a character from the Movie, Nicky

Koskoff (“Koskoff” or the “Koskoff Character”)4--also known as



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4 The Koskoff Character was originally named “Andrew ‘Wigwam’
Cohen,” reflecting Plaintiff’s first name and nickname, but the
producers changed the character’s name to “Nicky ‘Rugrat’
Koskoff.” (Def.s’ 56.1 Stmt. ¶ 76.) The choice of the new name
is related to the fact that a producer’s husband is named Nicky
Koskoff. (Def.s’ 56.1 Stmt. ¶ 76.)


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“Rugrat,” a nickname mocking the toupee that the character wears-

-is one that viewers understood to be a depiction of Plaintiff.

(Suppl. Compl., Docket Entry 2, ¶¶ 1, 20, 21, 28; Defs.’ 56.1 Stmt.

¶ 7.)      Plaintiff    avers    that    on    thirty-three     occasions,      the

portrayal of Koskoff defamed him by showing him engaged in or

condoning    criminal    activity,      drug   use,   sexual     relations     with

prostitutes, and other unprofessional behavior ranging from the

mundane--“depicting the boardroom as chaotic”--to the outrageous-

-depicting Koskoff “shaving a woman’s head in the boardroom,” for

which she received $10,000.             (App’x A to Pl.’s Interrogatory

Responses, Cox Decl. Ex. 15, Docket Entry 73-28, ECF pp. 11-12;

Suppl. Compl. ¶ 30; Def.s’ 56.1 Stmt. ¶ 7; Memoir at 104.)

            Generally,     the   complained-of        scenes    are   dramatized

versions of events discussed in the Memoir.                For instance, the

Memoir    describes     drug   use   and    prostitution       activity   in    the

boardroom, (e.g.,
            ----
                  Memoir at 54); criminal activity, including the

arrest of Gary Kaminsky, the Chief Financial Officer of a Stratton

Oakmont client, (Memoir at 121, 137-48; Memoir Pt. 2 pp. 225-End,

Docket Entry 73-4 at 339), and Plaintiff’s role in a transaction

arising out of the initial public offering of Steven Madden Ltd.-

-Steve Madden’s well-known shoe company--for which Madden pled

guilty to money laundering, (Memoir at 415-19); and the immorality

at Stratton Oakmont, such as the head-shaving incident and a



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discussion involving Plaintiff of whether to host a “[m]idget

[t]ossing [c]ompetition,” (Memoir at 64-67, 104-06).

                             While                Koskoff       and   Plaintiff   share   certain   traits,

Koskoff was created as a “composite character” inspired by three

individuals discussed in the Memoir, not as a carbon copy of

Plaintiff.                          (Defs.’ 56.1 Stmt. ¶¶ 73-74.)                  Specifically, Koskoff

incorporates elements of Plaintiff, Elliott Loewenstern, and Gary

Kaminsky, as Belfort portrayed them.5                                         (Defs.’ 56.1 Stmt. ¶ 74.)

Loewenstern was Belfort’s childhood friend and one of the first

people to work at Stratton Oakmont as a retail cold-caller and

broker.                     (Defs.’ 56.1 Stmt. ¶ 75.)                        As discussed, Plaintiff is

described in the Memoir as Belfort’s childhood friend and is mocked

for wearing a toupee.                                          (Defs.’ 56.1 Stmt. ¶ 75.)       Kaminsky is

portrayed as the toupee-wearing Chief Financial Officer of Dollar

Time Corporation, a company that used Stratton Oakmont’s corporate

finance services.                                         (Def.s’ 56.1 Stmt. ¶ 75.)       According to the

Memoir, Kaminsky accompanied Belfort on a trip to Switzerland,



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5 Terrence Winter, who wrote the screenplay for the Movie,
decided to combine these individuals into the Koskoff Character
to conserve screen time and help avoid audience confusion.
(Defs.’ 56.1 Stmt. ¶ 74; Winter Decl., Docket Entry 73-67,
¶ 19.) According to Winter, Koskoff “needed to serve several
functions, and since there were certain similarities among
Loewenstern, [Plaintiff,] and Kaminsky, it became possible to
create a composite fictional character inspired by those three
people who would be helpful in my primary story-telling mission
of telling [ ] Belfort’s story from Belfort’s point of view.”
(Winter Decl. ¶ 19.)
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 during which Belfort arranged a money-laundering scheme with a

 Swiss banker.     (Defs.’ 56.1 Stmt. ¶¶ 56, 75.)          Additionally, the

 Memoir provides that Kaminsky was arrested in Florida with the

 Swiss banker.     (Defs.’ 56.1 Stmt. ¶ 75.)

             Individuals who saw the Movie and who knew Plaintiff

 while he worked for Stratton Oakmont testified that they believed

 Koskoff was a depiction of Plaintiff because, like Plaintiff, he

 wore a toupee and was a lawyer involved in corporate finance at

 the firm.    (Pl.’s 56.1 Counterstmt. ¶ 103.)         Specifically, Howard

 Gelfand, a Stratton Oakmont employee, (Gelfand Dep., Cox Decl. Ex.

 42, Docket Entry 73-51, 10:2-11:5), testified that he knew Koskoff

 referred to Plaintiff because “he was a corporate finance guy and

 he was wearing a toupee,” (Gelfand Dep. 37:17-20).            Neil Kaufman,

 a securities lawyer who worked on an initial public offering

 underwritten by Stratton Oakmont, (Kaufman Dep., Cox Decl. Ex. 46,

 Docket Entry 73-55, 13:18-25), testified that it was obvious that

 Koskoff was a portrayal of Plaintiff because they were both in-

 house   lawyers    at   Stratton   Oakmont   with   the   similarly    punned

 nicknames of “Rugrat” and “Wigwam,” (Kaufman Dep. 50:17-51:5).

 Norman Arnoff, who represented Stratton Oakmont in connection with

 securities arbitrations and state regulatory matters, (Arnoff

 Dep., Cox Decl. Ex. 47, Docket Entry 73-56, 12:14-13:23), testified

 that he believed Koskoff identified Plaintiff because “[o]ne, [ ]

 the wig[, a]nd two[,] because of the involvement . . . in the

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 [initial public offerings] in the business aspect of Stratton in

 the [M]ovie,” (Arnoff Dep. 61:9-18).               Ross Portenoy, who was

 friends with Plaintiff and Belfort and did printing work for

 Stratton Oakmont, (Portenoy Dep., Cox Decl. Ex. 48, Docket Entry

 73-57,   10:13-15:10),     testified       that   he   believed     Koskoff   was

 Plaintiff because “the hairpiece, his nickname of Rugrat,” and

 “his role in the [M]ovie was corporate finance and dealing with

 corporate finance,” (Portenoy Dep. 45:5-15).                 Stacy Rettinger,

 Plaintiff’s ex-fiancée, (Rettinger Dep., Cox Decl. Ex. 49, Docket

 Entry 73-58, 34:7-21), testified that she thought “[t]he attorney

 with   the . . . toupee      and   the     glasses”    was   a    depiction    of

 Plaintiff, (Rettinger Dep. 31:20-25).

             Notably, each of these individuals also testified that

 they did not associate Plaintiff with the defamatory aspects of

 Koskoff.    (Defs.’ 56.1 Stmt. ¶ 88.)        Gelfand testified that he did

 not believe that Koskoff’s actions mirrored Plaintiff’s, because

 while the typical Stratton Oakmont employee “was a drug monger,

 prostitute monger,” Plaintiff “wasn’t particularly that guy.”

 (Gelfand    Dep.   44:20-45:5;     see     also   Gelfand    Dep.    64:12-22.)

 According to Kaufman, “the depiction of [Koskoff] in the [Movie]

 was a . . . gross distortion of” Plaintiff.             (Kaufman Dep. 42:11-

 24.)   Arnoff testified that he recognized that not every character

 from the Movie “matche[d] somebody 100 percent,” (Arnoff Dep. 62:3-

 6), and that while Koskoff resembled Plaintiff more than anyone

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 else at Stratton Oakmont, Koskoff was “an extreme caricature” of

 Plaintiff (Arnoff Dep. 51:13-21; see also Arnoff Dep. 51:22-52:12

 (“There       were       similarities         [between          Koskoff    and

 Plaintiff] . . . but       I     don’t    think     it    was   identical.”)).

 Plaintiff “was one of the good guys.”             (Arnoff Dep. 61:19-62:20.)

 Portenoy testified that he believed that Koskoff made a “mockery

 . . . of [Plaintiff] . . . [by] mak[ing him] look like a drug

 addict, partying and having sex with all these girls, doing the

 things he was doing in Stratton Oakmont, when I know for a fact

 that [Plaintiff] was the one that dealt with the regulations, that

 was trying to keep that firm going, and all of a sudden [Belfort]

 is mocking him, making him look like this character, and that is

 definitely not who [Plaintiff] was.”          (Portenoy Dep. 44:8-24; see

 Portenoy Dep. 90:12-17 (“[Plaintiff] was depicted as a character

 that absolutely did not--was not the [Plaintiff] that I knew that

 worked at Stratton Oakmont.”).)          Finally, Rettinger testified that

 she did not recall anything about what Koskoff did in the Movie,

 but only that he was Belfort’s sidekick.                 (Rettinger Dep. 29:3-

 14.)

                                PROCEDURAL HISTORY

             Plaintiff commenced this action on February 18, 2014,

 asserting two causes of action for invasion of his privacy under

 New York Civil Rights Law § 51, one cause of action for invasion

 of his privacy under New York common law, and two causes of action

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 for libel per se--one alleging actual malice and the other alleging

 negligence.      Greene I, 138 F. Supp. 3d at 230-31, 236-37.

             In    the   September    2015    Order,   the    Court    dismissed

 Plaintiff’s invasion of privacy claims with prejudice.                     Id. at

 237.    Additionally, the Court dismissed Plaintiff’s negligence-

 based, private-figure libel claim without prejudice.                  Greene I,

 138 F. Supp. 3d at 236-37.         Plaintiff did not amend his Complaint

 to replead the claim, though the Court granted him leave to do so.

 Id.; (see Oct. 17, 2015 Elec. Order.)               Thus, only his public-

 figure libel claim alleging actual malice remains.             (See Oct. 2015

 Elec. Order.)

             Defendants moved for summary judgment on February 5,

 2018; Plaintiff opposed the motion on March 5, 2018, (Pl.’s Opp.);

 and Defendants filed a reply brief in further support of their

 motion on March 19, 2018.       (See Defs.’ Br.; Pl.’s Opp.; and Defs.’

 Reply, Docket Entry 76.)

                                    DISCUSSION

 I.     Legal Standard

             Summary     judgment    will    be   granted    where    the   movant

 demonstrates that there is “no genuine dispute as to any material

 fact and the movant is entitled to judgment as a matter of law.”

 Fed. R. Civ. P. 56(a).       A genuine factual issue exists where “the

 evidence is such that a reasonable jury could return a verdict for

 the nonmoving party.”       Anderson v. Liberty Lobby, Inc., 477 U.S.

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 242, 248, 106 S. Ct. 2505, 2510, 91 L. Ed 2d 202 (1986).                    In

 determining whether an award of summary judgment is appropriate,

 the Court considers the “pleadings, deposition testimony, answers

 to interrogatories and admissions on file, together with any other

 firsthand information including but not limited to affidavits.”

 Nnebe v. Daus, 644 F.3d 147, 156 (2d Cir. 2011).

             The movant bears the burden of establishing that there

 are no genuine issues of material fact.               Gallo v. Prudential

 Residential Servs., L.P., 22 F.3d 1219, 1223 (2d Cir. 1994).              Once

 the movant makes such a showing, the non-movant must proffer

 specific facts demonstrating “a genuine issue for trial.”              Giglio

 v. Buonnadonna Shoprite LLC, No. 06-CV-5191, 2009 WL 3150431, at

 *4 (E.D.N.Y. Sept. 25, 2009) (internal quotation marks and citation

 omitted).      Conclusory allegations or denials will not defeat

 summary judgment.     Id.   However, in reviewing the summary judgment

 record, “‘the court is required to resolve all ambiguities and

 draw all permissible factual inferences in favor of the party

 against whom summary judgment is sought.’”            Sheet Metal Workers’

 Nat’l Pension Fund v. Vadaris Tech. Inc., No. 13-CV-5286, 2015 WL

 6449420, at *2 (E.D.N.Y. Oct. 23, 2015) (quoting McLee v. Chrysler

 Corp., 109 F.3d 130, 134 (2d Cir. 1997)).

 II.   Defamation

             “‘The    law    of   defamation     serves     to   protect     an

 individual’s right to one’s reputation.’”           Kavanagh v. Zwilling,

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 997 F. Supp. 2d 241, 248 (S.D.N.Y. 2014) (quoting Idema v. Wager,

 120 F. Supp. 2d 361, 365 (S.D.N.Y. 2000)), aff’d, 578 F. App’x 24

 (2d Cir. 2014).       Defamation is comprised of “‘the twin torts of

 libel and slander’ . . . .        Spoken defamatory words are slander;

 written defamatory words are libel.”         Colodney v. Continuum Health

 Partners, Inc., No. 03-CV-7276, 2004 WL 829158, at *7 (S.D.N.Y.

 Apr. 15, 2004) (quoting Albert v. Loksen, 239 F.3d 256, 265 (2d

 Cir. 2001)).     To recover for libel under New York law, a plaintiff

 must establish five elements: “(1) a written defamatory factual

 statement [of and] concerning the plaintiff; (2) publication to a

 third party; (3) fault; (4) falsity of the defamatory statement;

 and (5) special damages or per se actionability.”            Chau v. Lewis,

 771 F.3d 118, 126–27 (2d Cir. 2014) (citing Celle v. Filipino

 Reporter Enters. Inc., 209 F.3d 163, 176 (2d Cir. 2000)).

       A.     Defendants’ Motion

              Defendants argue that Plaintiff cannot recover because

 (1) the portrayal of Koskoff is not “of and concerning” Plaintiff

 (Defs.’ Br. at 19-23); (2) even if Koskoff is a portrayal of

 Plaintiff, that portrayal is substantially true (Defs.’ Br. at 14-

 18); (3) Defendants did not act with actual malice (Defs.’ Br. at

 8-13);     (4) most   alleged   instances    of   libel   per   se   are   not

 actionable (Defs.’ Br. at 23-25); and (5) Plaintiff did not suffer

 special damages (Defs.’ Br. at 25).               Plaintiff contends that

 (1) the Koskoff Character is “of and concerning” Plaintiff (Pl.’s

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 Opp. at 15-17); (2) Defendants acted with actual malice (Pl.’s

 Opp. at 10-15); (3) Plaintiff’s claims are actionable per se (Pl.’s

 Opp. at 17-19); and (4) Plaintiff suffered special damages (Pl.’s

 Opp. at 19-20).

             For the reasons that follow, even assuming there are

 issues of fact regarding whether the Koskoff Character is “of and

 concerning” Plaintiff, his libel claim fails because he has not

 introduced evidence that Defendants acted with actual malice in

 making false statements “of and concerning” him.

       B.    Actual Malice

             1.    Standards

             The standard of fault required to find a defendant liable

 for defamation varies depending on the status of the plaintiff.

 As a federal constitutional matter, if the plaintiff is a “public

 figure,” he “must demonstrate by clear and convincing evidence

 that the defendant acted with ‘actual malice.’”               Biro v. Conde

 Nast, 963 F. Supp. 2d 255, 276 (S.D.N.Y. 2013).                As described

 above, Plaintiff elected not to pursue a private-figure defamation

 claim, leaving only his public-figure claim based on actual malice.

 Further, Plaintiff’s opposition concedes his status as a public

 figure, and thus, the actual malice standard applies.             (See Pl.’s

 Opp. at 10 (“Plaintiff can satisfy the requisite showing of ‘actual

 malice’ on the part of Defendants in this matter.”).)



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              “[A]ctual malice does not simply connote ill will or

 spite; rather it is ‘a term of art denoting deliberate or reckless

 falsification.’”      Biro, 963 F. Supp. 2d at 276 (quoting Masson v.

 New Yorker Magazine, 501 U.S. 496, 499, 111 S. Ct. 2419, 2424, 115

 L. Ed. 2d 447 (1991)) (citations omitted).                “[R]eckless disregard

 of truth” will be found where there is a “subjective awareness of

 probable falsity.”      Gertz v. Robert Welch, Inc., 418 U.S. 323, 334

 n.6, 94 S. Ct. 2997, 3004 n.6, 41 L. Ed. 2d 789 (1974) (citing St.

 Amant v. Thompson, 390 U.S. 727, 731, 88 S. Ct. 1323, 1325, 20 L.

 Ed. 2d 262 (1968) (“There must be sufficient evidence to permit

 the conclusion that the defendant in fact entertained serious

 doubts as to the truth of his publication.”)).                       “Freedoms of

 expression    require     ‘breathing       space,’”   and   the   actual    malice

 requirement provides it by allowing “public figures to recover for

 libel   or   defamation      only   when    they    can   prove   both   that   the

 statement was false and that the statement was made with the

 requisite level of culpability.’”                  Hustler Magazine, Inc. v.

 Falwell, 485 U.S. 46, 52, 108 S. Ct. 876, 880, 99 L. Ed. 2d 41

 (1988) (internal citations and quotation marks omitted).

              In the context of a composite or fictional character,

 the actual malice inquiry is intertwined with whether there was a

 false statement “of and concerning” the plaintiff.                       Here, for

 example, Defendants combined aspects of Plaintiff and others in

 creating     the   Koskoff    Character:        Koskoff     shared    several   of

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 Plaintiff’s characteristics but engaged in actions carried out by

 others--for instance, Kaminsky’s trip to Switzerland and arrest in

 Florida.      (Defs.’ 56.1 Stmt. ¶ 75.)       Therefore, if Koskoff is “of

 and concerning” Plaintiff, then certain aspects of Koskoff are

 false as to Plaintiff, and Defendants acted with knowledge of that

 falsity. If Koskoff is not “of and concerning” Plaintiff, however,

 then any statement about that character is not false, and thus,

 not knowingly false.      In other words, under a literal application

 of the test, actual malice is “automatic” if the character is “of

 and concerning” Plaintiff.         See New Times, Inc. v. Isaacks, 146

 S.W.3d 144, 162 (Tex. 2004).

               Courts have recognized a similar tangling of elements in

 the analogous contexts of satire and parody, where statements that

 appear   to    express   facts   are   instead     intended   “as     outrageous

 parodies or caricatures expressing an opinion.”               See Dworkin v.

 Hustler Magazine Inc., 867 F.2d 1188, 1194 (9th Cir. 1989).                   For

 instance, discussing actual malice in the parody context, the Ninth

 Circuit noted that “it might seem that inquiring into the existence

 of . . . malice     is   inconsistent       with   the   conclusion    that   the

 [magazine f]eatures contain [opinions,] no[t] statements of fact.”

 Id.   But the “apparent inconsistency” is reconciled since “‘there

 is no consciousness that [the speaker] is publishing something

 false, because [the speaker doesn’t] think [he’s] publishing a

 statement of fact.’”      Id. (alterations in original).            And because

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 knowing or reckless falsification is required to establish actual

 malice, “if a speaker knowingly publishes a literally untrue

 statement without holding the statement out as true, he may [ ]

 lack subjective knowledge or recklessness as to the falsification

 of a statement of fact required by New York Times.”             Id. at 1194-

 95.

             Similarly, the Supreme Court of Texas noted that a

 literal application of the actual malice test in the satire context

 would    result   in   “‘automatic    actual   malice’ . . . because      the

 author always knows the publication contains false statements of

 fact.”    New Times, Inc., 146 S.W.3d at 162.          Finding that such a

 rule would be incompatible with the First Amendment, it articulated

 the question of actual malice in satire cases as follows: “[D]id

 the publisher either know or have reckless disregard for whether

 the article could reasonably be interpreted as stating actual

 facts?”    Id. at 162-63 (citations and footnote omitted).

             The actual malice inquiry for fictional characters can

 likewise be reframed to avoid “automatic actual malice.”                    As

 discussed, a statement will only be false if the character is found

 to be “of and concerning” the plaintiff. Thus, determining whether

 the defendant acted with knowledge or reckless disregard in making

 a false statement is dependent on whether the defendant acted with

 knowledge or reckless disregard in making a statement “of and

 concerning” the plaintiff through the portrayal of a fictional

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 character.    This inquiry collapses into whether the defendant knew

 or acted with reckless disregard for whether the portrayal of the

 character would be “of and concerning” the plaintiff.               See Rest.

 2d of Torts § 564, cmt. f. (“The common law position was that if

 the recipient reasonably understood the communication to be made

 [of and] concerning the plaintiff, the defamer was subject to

 liability even though he was not at fault . . . .             This position

 is now held to be in violation of the First Amendment to the

 Constitution.       The Supreme Court holds that there must be intent

 [or] recklessness . . . on the part of the defamer.”).

              2.     Analysis

              Defendants argue that there is no evidence that Red

 Granite, Paramount, or Appian Way acted with actual malice because

 they did not act with knowledge or reckless disregard for whether

 Koskoff would be perceived to be “of and concerning” Plaintiff.

 (Defs.’ Br. at 8-13.)              In response, Plaintiff contends that

 Defendants acted with reckless disregard of falsity by (1) failing

 to properly research aspects of the Memoir, (2) relying on Belfort

 in their due-diligence efforts, when Belfort “has admitted to

 regularly and pathologically lying to customers, colleagues, law

 enforcement       and   Courts,”     (3) engaging   in   “limited    research

 regarding portrayals of real-life incidents and individuals,”

 (4) lacking       knowledge    about   legal   clearance   procedures,    and

 (5) being unconcerned with factual accuracy.             (Pl.’s Opp. at 10-

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 15.)    However, Plaintiff ignores Defendants’ argument that they

 did not act with knowledge or recklessness in portraying him in

 the first place.      And critically, while Defendants support their

 position with the evidence below, Plaintiff has not established a

 genuine issue of material fact by introducing or highlighting

 conflicting evidence.

              Red Granite was the manager of TWOWS, LLC, the production

 company for the Movie.        (Defs.’ 56.1 Stmt. ¶ 107.)         Christopher

 McFarland, a Producer and Vice Chairman of Red Granite, supervised

 the team that vetted the Movie to avoid violating third parties’

 reputational rights.      (McFarland Decl., Docket Entry 73-62, ¶¶ 2,

 7, 16.)    McFarland explains that the Movie was “based upon events

 seen from the distinctive point of view of Jordan Belfort.”

 (McFarland Decl. ¶ 3.)       To portray Belfort and the atmosphere of

 Stratton Oakmont, the Movie “had characters employed by Stratton

 Oakmont doing things similar to events that actually occurred,

 [though] no attempt was made to have any characters that would

 reasonably     be   understood    as    [ ]   specific   Stratton     Oakmont

 employee[s].”       (McFarland Decl. ¶ 3.)        Specifically, McFarland

 provides that the Movie was “not intend[ed] to have any character

 that would reasonably be seen as the Plaintiff.”           (McFarland Decl.

 ¶ 3.)   Further, he explains that he did not believe viewers would

 understand the Koskoff Character to refer to any specific or real

 person because (1) Koskoff was a composite character with a “made-

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 up name . . . and a job and personal history different from the

 people who helped to inspire the character,” (2) the disclaimer in

 the           Movie’s                    credits               explained    that   certain   characters   were

 fictionalized,6 and (3) “the style and content of the [Movie].”

 (McFarland Decl. ¶¶ 6-7, 16.)                                          Finally, he provides that “[e]ven

 if someone mistakenly believed that Koskoff was not a composite

 fictional character, but instead was a depiction of a real person,

 it seemed to me that such a viewer would think that the real

 person’s name was Koskoff.”                                         (McFarland Decl. ¶ 16.)

                              Paramount acted solely as the Movie’s distributor and

 did not produce or develop its screenplay.                                               (Defs.’ 56.1 Stmt.

 ¶ 91.)                     According to Lola Langner, Senior Vice President in

 Paramount’s legal department, Paramount distributed the Movie

 based on: (1) “chain of title documents showing that the [Movie]



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 6   In full, the disclaimer provides:

                              While this story is based on actual events,
                              certain characters, characterizations,
                              incidents, locations and dialogue were
                              fictionalized or invented for purposes of
                              dramatization. With respect to such
                              fictionalization or invention, any
                              similarity to the name or to the actual
                              character or history of any person, living
                              or dead, or any product or entity or actual
                              incident, is entirely for dramatic purpose
                              and not intended to reflect on an actual
                              character, history, product or entity.

 (Defs.’ 56.1 Stmt. ¶ 90.)


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 was based upon an underlying non-fiction book”; (2) information

 from a Red Granite attorney that there had been no lawsuits brought

 against the Movie or Memoir, and that the only claim against the

 Movie or Memoir had come from an attorney representing Daniel

 Porush, Stratton Oakmont’s former president; (3) an agreement

 pursuant to which the Movie’s producer and copyright owner, TWOWS,

 LLC, represented and warranted to Paramount that the Movie would

 comply with libel and slander laws; and (4) assurances that TWOWS,

 LLC had “conducted a detailed analysis regarding the compliance of

 the               [Movie] . . . with                              the      laws      pertaining      to      rights

 of . . . defamation.”                                          (Langner Decl., Docket Entry 73-59, ¶¶ 2-

 8; see Defs.’ 56.1 Stmt. ¶ 11.)

                              Appian                   Way’s      involvement       in    the     Movie     included

 persuading                        Warner                  Brothers   to    acquire      the    underlying   motion

 picture rights and assisting in the initial stages of development,

 which              led           to         the            commitment     by   Martin   Scorsese’s       production

 company, Sikelia,7 to furnish Scorsese’s services.                                                  (Def.s’ 56.1

 Stmt. ¶ 101.)                               According to the declaration of Jennifer Davisson,

 head of production at Appian Way, the company’s development work

 occurred in 2007 and 2008, when she and Leonardo DiCaprio met with

 Winter to discuss his “broad-stroke idea of how he would like to

 adapt [the Memoir] as a motion picture screenplay.”                                                       (Davisson


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 7 As discussed, Plaintiff’s claims against Sikelia were dismissed
 in the September 2017 Order.
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 Decl., Docket Entry 73-70, ¶¶ 2, 8.)            After Scorsese agreed to

 become involved and Appian Way had provided comments on the first

 draft of the script in 2008, its direct involvement in the Movie’s

 development ended.        (Davisson Decl. ¶ 8.)    The film project ceased

 to be actively developed in 2008, but in 2011, Davisson learned

 that Red Granite was willing to finance the project.               (Davisson

 Decl. ¶ 9.)       Thereafter, Appian Way furnished DiCaprio’s acting

 services, while TWOWS, LLC and Sikelia took over the “hands-on”

 production of the Movie.          (Davisson Decl. ¶¶ 10-11.)        Davisson

 knows of no one at Appian Way who had any role in creating or

 developing any aspect of the Koskoff Character, and she believed

 that Appian Way had no right to determine the content of the Movie,

 “except insofar as it furnished the services of Leonardo DiCaprio

 as   the   lead   actor    performing   the   role   of   Jordan   Belfort.”

 (Davisson Decl. ¶¶ 11-12.)       She believed that vetting the Movie to

 ensure that it did not violate third parties’ rights was under

 Sikelia’s or TWOWS, LLC’s control, and that Appian Way played no

 role in that process.        (Davisson Decl. ¶ 13.)       Finally, Davisson

 provides that (1) she understood that the Movie “did not say

 anything that was false about any real persons,” (2) she knew of

 no pending defamation claims with respect to the Movie, (3) she

 had no belief that anyone would be defamed by the Movie, and

 (4) she “believed that the [Koskoff C]haracter was a fictional



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 character inspired by several people in the [Memoir].”              (Davisson

 Decl. ¶ 13.)

              In light of the above, even if Koskoff is a depiction of

 Plaintiff, the Court concludes that Defendants did not act with

 knowledge or reckless disregard for whether Koskoff was “of and

 concerning” Plaintiff, and thus, that they did not act with actual

 malice.    Specifically, based on (1) the fictionalized nature of

 the Movie; (2) the undisputed facts that the Koskoff Character is

 a composite of three people and has a different name, nickname,

 employment history, personal history, and criminal history than

 Plaintiff;     (3) the   Movie’s    disclaimer;     (4) evidence     of     each

 Defendant’s    subjective    understanding     that   no    real   person   was

 portrayed--or defamed--by the Koskoff Character; and (5) the lack

 of evidence to the contrary, Plaintiff cannot establish that

 Defendants “in fact entertained serious doubts as to the truth of

 [the] publication.”      See St. Amant, 390 U.S. at 731, 88 S. Ct. at

 1325.      Accordingly,     Plaintiff      cannot   carry    his   burden     of

 demonstrating actual malice with clear and convincing evidence,

 and his libel claim fails.



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                                  CONCLUSION

             For the foregoing reasons, Defendants’ summary judgment

 motion (Docket Entry 73) is GRANTED and Plaintiff’s libel claim is

 DISMISSED WITH PREJUDICE.        The Clerk of the Court is directed to

 enter judgment accordingly and mark this case CLOSED.




                                            SO ORDERED.



                                            /s/ JOANNA SEYBERT______
                                            Joanna Seybert, U.S.D.J.

 Dated:      December   13_ , 2018
             Central Islip, New York




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